                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION

UNITED STATES OF AMERICA                  )
          Plaintiff,                      )
                                          )
            v.                            )                 5:05CR235-7-V
                                          )
(7) ANDRE ORLANDA STEPHENS                )                 ORDER
            Defendant.                    )
__________________________________________)


       THIS MATTER IS BEFORE THE COURT on the United States’ Motion to Amend

Indictment (Document 244) filed June 29, 2006, seeking to amend the caption of the indictment

contained in the above-captioned case to add the true name of the Defendant.

       In support of its motion, the Government asserts that the Defendant is named in the

caption of the Indictment as Andre Orlanda Stephens and further asserts that the Defendant’s

correct name is ANDRA ORLANDA STEPHENS.

       The amendment offered by the Government is clearly ministerial and would in no way

affect any substantive or procedural rights of the Defendant. See United States v. Morrow, 925

F.2d 779, 781-82 (4th Cir. 1991).

       IT IS THEREFORE, ORDERED that the Motion to Amend Indictment (Document

244) filed by the United States seeking to amend the caption of the Indictment to correct the

Defendant’s name to ANDRA ORLANDA STEPHENS is hereby GRANTED.

       The Clerk is directed to certify copies of this Order to the Defendant, defense counsel,

U.S. Probation, U.S. Marshal Service, and the United States Attorney.




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                                 Signed: June 30, 2006




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